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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 American Foreign Service Association, et al.,

                             Plaintiffs,

                        v.
                                                             Case No. 1:25-cv-00352-CJN
 President Donald J. Trump, et al.,
                         Defendants.


          MOTION OF 202 MEMBERS OF CONGRESS FOR LEAVE TO FILE
                  AMICUS CURIAE BRIEF IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Rule 7(o), 202 Members of Congress respectfully seek this Court’s leave

to file the attached amicus curiae brief in support of Plaintiffs’ pending motion for summary

judgment, ECF No. 51. The proposed amicis curiae brief is attached as Exhibit A and a proposed

order granting this motion is attached as Exhibit B. The motion for leave to file this brief should

be granted for the following reasons:

   1. Proposed amici are members of Congress who are well-acquainted with the United States

Agency for International Development (USAID). They include members who participated in

drafting the Foreign Affairs Reform and Restructuring Act of 1998, which established USAID as

an independent agency; participated in drafting recent Appropriations Acts that require USAID to

be funded as an independent agency with its own appropriation and that limit the president’s ability

to unilaterally reorganize USAID; serve or served on committees with jurisdiction over foreign aid

and appropriations; and currently serve in the leadership of the House of Representatives or served

in the leadership when USAID was established as an independent agency. Many members have

also visited USAID projects around the globe and met with those who administer and benefit from
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those projects. They are thus familiar with the statutory basis for USAID, as well as its essential

role in advancing the United States’ strategic interests in the world. A full list of proposed amici is

in the appendix to the brief.

   2. This Court has “broad discretion” to permit participation by third parties as amicus curiae.

Nat’l Ass’n of Home Builders v. U.S. Army Corps of Engineers, 519 F. Supp. 2d 89, 93 (D.D.C.

2007). The Court has permitted such participation where a third party has “unique information or

perspective” that can contribute to the Court’s understanding of the matter in question, Jin v.

Ministry of State Sec’y, 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (internal quotation marks omitted),

and “relevant expertise and a stated concern for the issues at stake in [the] case,” District of

Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C. 2011).

   3. The proposed brief plainly satisfies these standards. Among other things, proposed amici

are particularly well-positioned to explain the history of USAID, including the context in Congress

made the reasoned decision to establish USAID as an independent agency outside the Department

of State and its repeated decisions to support USAID as a separate agency with its own

appropriation. Proposed amici are also well-positioned to explain the history of requirements

included in appropriations acts for nearly a decade that require notification and consultation to

Congress before the executive implements any reorganization of USAID. Defendants’ recent

actions toward USAID—including freezing and then cancelling the vast majority of USAID-

funded awards, terminating or placing on indefinite administrative leave the vast majority of the

agency’s workforce, including those posted overseas, and shuttering its headquarters—show

blatant disregard for Congress’s role and express directives in clear violation of the Constitution’s

mandate that the laws be faithfully executed. Not only do those efforts violate our law and

constitutional structure, they also threaten the mission USAID was created to advance—protecting




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American national security, strengthening diplomatic ties with partners and allies, and promoting

stability around the globe. Proposed amici thus have a substantial interest in this case.

   4. This Court’s local rules do not specify the time for filing of amicus briefs, providing instead

that they “shall be filed within such time as the Court may allow.” Local Rule 7(o)(3). This brief

is timely because it is submitted one week before the deadline for Defendants to oppose Plaintiffs’

motion for summary judgment, thereby affording Defendants sufficient time to respond to the

arguments and information contained in the proposed amicus curiae brief.

   5. Pursuant to Local Rules 7(m) and 7(o), counsel for amici conferred with counsel for the

parties in this case. Plaintiffs consent to this motion and Defendants do not oppose this motion.

       For these reasons, proposed amici respectfully request that the Court grant their motion for

leave to file the proposed amicus curiae brief in support of Plaintiffs’ motion for summary

judgment.



Date: March 31, 2025`                                Respectfully submitted,

 /s/ Sharon M. McGowan                               /s/ Hannah Kieschnick
 Sharon M. McGowan (DC Bar No. 476417)               Hannah Kieschnick*
 Leah M. Nicholls (DC Bar No. 982730)**              PUBLIC JUSTICE
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 lnicholls@publicjustice.net                         * Motion for pro hac vice admission
                                                     forthcoming
 Counsel for Amici Curiae
 202 Members of Congress                             ** Admission pending




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of March 2025, I electronically filed the foregoing

motion, together with its accompanying proposed amici curiae brief and proposed order, using the

Court’s CM/ECF system, which effected service upon all parties who have entered an appearance.



Date: March 31, 2025                                /s/ Sharon M. McGowan
                                                    Sharon M. McGowan




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